Case 1:05-cv-01067-.]DT-STA Document 33 Filed 05/06/05 Page 1 of 5 Page|D 27

|N THE UN|TED STATES D|SCTR|CT COURTCOURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
EASTERN DIV|S|ON

PAULINE THARPE by next friend and
attorney in fact, MARSHALL THARPE,
P|aintiff,

V.

 

MERCK a co., lNc.;
RoNNlE L. BATcHELoR, DPH;

TAMMY RENE N. PRATHER, DPH,
BECKY cAPPs TEAL, DPH,

ExPREss schPTs, lNc.,

sTEPHANlE B. (BucK) lsoN;
couRTNEY sHAY (lNGRAM) McMAKlN;
\/lNAv KRlsHAN sooD;

MELlssA cARoL (McALLlsTER)
BARNEs; MchAEL RchARos, PATRiclA
BLAslNoAME and scoTT EvANs,

VVVVVVVVVVVVVVVVVVVV

Defendants.

 

ORDER OF SUBST|TUTION

 

lt appearing to the Court that Thomas M. Donne||, Jr. of the law firm of Stewart,
Estes & Donne|| in Nashvi|le, Tennessee should be substituted for attorneys Stephen P.
Ha|e and Buffey E. K|ein of the law firm of Husch & Eppenberger, LLC in |\/|emphisl
Tennessee as counsel of record for Defendant Express Scripts, |nc.;

it is therefore ORDERED that Thomas M. Donne||, Jr. of the law firm of Stewart,
Estes & Donne|| is substituted for attorneys Stephen P. Ha|e and Buffey E. KIein ofthe law
firm of Husch & Eppenberger, LLC in Memphis, Tennessee as attorney of record for

Defendant Express Scripts, |nc.
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Thls ‘
document entered on the docket sheet m omp|‘ nce w
with sure 58 and;or 79 (a) FHCP on é=» 0 § g

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,V#~

Signed this 15 dayofMay,2005.

QWVMA‘ M

Juo§dz

APPROVED FOR ENTRY:

HUSCH & EPPENBERGER, LLC

WQ_MM;DMWA’IL

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CE TlFlCAT§ OF SERV|CE

| hereby certify that a true and exact copy of the foregoing has been placed in the
U.S. Mail, postage prepaid and properly addressed to:

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Tho’mas lVl. Donnell, Jr.

this 3 dayofmay,zoos.

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'sATES DISTRICT OURT - WESTER D'I'ISRCTOF TNNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in

ease 1:05-CV-01067 Was distributed by faX, mail, or direct printing on

May 6, 2005 to the parties listed.

 

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Honorable .1 ames Todd
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